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No. 04-09-00179-CR



Esther SALAZAR,


Appellant



v.



The STATE of Texas,


Appellee



From the 175th Judicial District Court, Bexar County, Texas


Trial Court No. 2008-CR-2151


Honorable Mary Roman, Judge Presiding



PER CURIAM


Sitting:	Karen Angelini, Justice

		Sandee Bryan Marion, Justice

		Phylis J. Speedlin, Justice


Delivered and Filed:	June 10, 2009

			

DISMISSED

	Pursuant to a plea-bargain agreement, Esther Salazar pled nolo contendere to the offense of
harassment of a public servant and was sentenced to four years imprisonment. On October 20, 2008,
the trial court signed a certification of defendant's right to appeal stating that this "is a plea-bargain
case, and the defendant has NO right of appeal." See Tex. R. App. P. 25.2(a)(2). After Salazar filed
a notice of appeal, the trial court clerk sent copies of the certification and notice of appeal to this
court. See id. 25.2(e). The clerk's record, which includes the trial court's Rule 25.2(a)(2)
certification, has been filed. See id. 25.2(d). 

	This court gave Salazar notice that the appeal would be dismissed unless an amended trial
court certification showing she has the right to appeal was made part of the record within thirty days.
See id. 25.2(d), 37.1; Daniels v. State, 110 S.W.3d 174, 177 (Tex. App.--San Antonio 2003, order).
No amended trial court certification has been filed. However, Salazar's appointed counsel filed a
written response, stating she has reviewed the record and can find no right of appeal. After reviewing
the record, we agree that Salazar does not have a right to appeal. See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005) (holding that court of appeals should review clerk's record to determine
whether trial court's certification is accurate). We therefore dismiss the appeal.


								PER CURIAM

DO NOT PUBLISH


